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                           UNITED STATES BANKRUPTCY COURT
                                       FOR THE
                            WESTERN DISTRICT OF KENTUCKY

IN RE: JOSHUA GEARY (Debtor)                                Chapter 7
                                                            Case No. 19-30170
                                                            Hon. Joan A. Lloyd

________________________________________________________________________________

WOOD FINANCE, INC
d/b/a PREMIER ACCEPTANCE (Creditor)

            Plaintiff,
____________________________________

       v.
                                                            ADVERSARY PROCEEDING
JOSHUA GEARY (Debtor)                                       CASE NO.


              Defendant.



            COMPLAINT FOR DETERMINATION OF DISCHARGEABILITY

              PURSUANT TO SECTION 523 OF THE BANKRUPTCY CODE



       Plaintiff- Creditor, Wood Finance, Inc, d/b/a Premier Acceptance, Inc., (“Premier”) as and

for its Complaint against Defendant-Debtor Joshua Geary (“Debtor”), respectfully alleges:

                                        JURISDICTION

      1.      On January 21, 2019, the Debtor filed a voluntary petition (the "Petition") for relief

under Chapter 7 of Title 11 of the United States Code (the "Bankruptcy Code") in the United States

Bankruptcy Court for the Western District of Kentucky.

      2.      On February 21, 2019, the Debtor's duly-noticed meeting of creditors was held

pursuant to Section 341(a) of the Bankruptcy Code (the "Section 341 Meeting").

      3.      As of the date of this Complaint, the Debtor has not been granted a discharge.
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      4.       This Complaint is timely, because the date by which a Complaint objecting to the

Debtor's discharge or to determine dischargeability of a debt expires on April 22, 2019.

      5.       This is an adversary proceeding in which the plaintiff-creditor is seeking a

determination as to the dischargeability of the debt owed by the Debtor and his company to Premier

under Bankruptcy Code § § 523(a)(2)(A) and 523(a)(4).

      6.       The Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §

1334 and Bankruptcy Code § 523.

      7.       This case is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(I) and 157(b)(2)(J).

                                              PARTIES

      8.       Premier is a business corporation organized under the laws of the State of Indiana, is

authorized to do business in the State of Indiana, and maintains its principal office in Indianapolis,

Marion County Indiana.

      9.       Premier is a creditor of the Debtor and his automobile dealership, Cliff & Sons Auto

Sales (“Dealership”).

      10.      The Debtor in the above-captioned case, Joshua Geary (“Geary”), is a Defendant in

this proceeding and at all relevant times has resided in Jefferson County, Louisville Kentucky.

Geary owned and operated a Used Vehicle his Dealership at 7053 Dixie Highway Louisville,

Kentucky 40258 under a license issued by the State of Kentucky.

      11.      Cliff and Sons Auto Sales, LLC (“CASAS”) is a Kentucky limited liability company

and maintains a used car sales business in Louisville, Kentucky. Geary is a fifty percent (50%)

owner, member, and operator of CASAS.
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                          FACTS APPLICABLE TO ALL COUNTS

      12.     In June of 2017, CASAS and Premier executed and entered into a Motor Vehicle

Dealer Agreement (“MVDA”). Attached hereto and incorporated herein by reference as Exhibit A

is a copy of the MVDA signed by the parties.

      13.     The MVDA governs transactions between Premier and CASAS, including but not

limited to CASAS’s assignment of any Retail Installment Contract and Security Agreement

(“RICSA”) to Premier, which is commonly referred to as a “finance contract”.

      14.     CASAS sold used motor vehicles to its consumers, entered finance contracts with its

consumers (i.e., RICSAs), and then sold the RICSAs to Premier under the terms and conditions of

the MVDA.

      15.     Pursuant to the terms of the MVDA, Premier purchased from CASAS a RICSA in a

transaction involving the sale of a 2013 Volkswagen Passat (“Vehicle”) on or around January 13,

2018 to John and Alisha McClure (“McClures”), customers of CASAS. Attached hereto and

incorporated herein by reference as Exhibit B is a true and accurate copy of the RICSA.

      16.     To date, Premier has received two payments under the RICSA: one on or about

February 12, 2018 in the amount of $302.97, and one on or about March 28, 2018 in the amount of

$312.97. No other payments have been made to Premier as required under the RICSA.

      17.     In June of 2018, CASAS represented to Premier that the RICSA signed by the

McClures was rescinded and the Vehicle was returned to CASAS.

      18.     CASAS was not an agent and had no right or authority to rescind the transaction.

      19.     Premier demanded repayment of the full amount of the RICSA. CASAS has failed

and refused to return the proceeds advanced by Premier for the Vehicle.

      20.     Premier learned that CASAS had actually accepted the Vehicle as a trade-in from the

McClures and falsely represented in writing that the McClure’s debt to Premier would be paid off.

However, CASAS did not make the represented payoff and then resold the Vehicle to another
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customer, despite its previous representation to Premier about the transaction with the McClures

being rescinded, the representations to the McClures that the payoff would be made and without

honoring the terms of the RICSA or MVDA.

       21.      CASAS knowingly and intentionally failed to pay Premier, failed to process the title

and to perfect Premier’s security interest in the Vehicle and wrongfully resold the Vehicle by

skipping title transfer to the McClures and did so without recognizing or noting Premier’s security

interest in or lien it held on the title of the Vehicle.

       22.      CASAS was obligated to return the funds advanced by Premier for the RICSA upon

the trade-in of the Vehicle by the McClures, but knowingly and intentionally did not return the

proceeds owed to Premier and held by CASAS in trust and as a fiduciary of Premier and the

McClures.

       23.      CASAS also had a fiduciary duty to Premier to secure and record Premier’s lien on

the title for the Vehicle, but knowingly, intentionally, and wrongfully did not do so.

       24.      CASAS fraudulently and/or intentionally breached the terms of the RICSA and

MVDA when it withheld the proceeds advanced by Premier, purposefully breached its contractual

and/or fiduciary obligation to perfect Premier’s security interest/lien on the title for the Vehicle,

improperly skipped title, wrongfully resold the Vehicle prior to perfecting Premier’s security

interest/lien, knowingly subverted Premier’s security interest/lien in the Vehicle, misrepresented to

Premier and the McClures that the proceeds would be paid for the Vehicle and then failed and/or

refused to pay Premier the original proceeds advanced for the Vehicle or the proceeds from the

trade-in and wrongful resale of the Vehicle by CASAS.

       25.      CASAS misrepresentations to Premier and the resale of the Vehicle in knowing and

intentional violation of Premier’s security interest in the Vehicle, which included the right to receive

any proceeds from the sale thereof, constitutes theft, conversion, or fraud under Indiana Code 35-

43-1-1 et seq. and KRS Chapter 514.010 et. seq.
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      26.      CASAS committed fraud, theft, theft by deception or conversion when it wrongfully

and intentionally exerted unauthorized control over the RICSA, the Vehicle and the title to the

Vehicle when it failed and refused to note Premier’s security interest and remit the proceeds to

Premier from the original allegedly rescinded sale and also by the misrepresentation that the payoff

would be made to Premier on the trade-in, skipped title transfer and resold the Vehicle with the

intent to deprive Premier, and its borrower, the McClures of the value of the property rights held in

the Vehicle and the proceeds generated from its sale.

      27.      Geary, an equal owner of CASAS, participated in, authorized, ratified, was aware of,

complicit in or benefited from the fraudulent misrepresentations and the intentional and wrongful

misconduct of CASAS, and should be held personally, jointly, and severally liable for such

misconduct.

      28.      Based on information received from the Kentucky Commission of Motor Vehicles,

Geary wrongfully assigned the assets of CASAS to his sons, and also assigned the Kentucky Used

Motor Vehicle Dealer License to his sons, who now operate and own the assets as Cliff & Sons

Auto Sales II at the same location as CASAS. Geary’s sons now receive the monetary benefit and

rights of the CASAS assets, including the Kentucky Motor Vehicle Dealer license.

      29.       Based on information and belief Debtor or his co-owner son in CASAS are still

involved in the business.

      30.      Through January 28, 2019, the balance due under the RICSA is $12,096.02 with

$3.04 per diem for interest. Premier is due its collection costs, reasonable attorney fees and court

costs from CASAS and Geary for their false statements, deception fraud and violation of the

fiduciary duty to protect Premier’s interest in the Vehicle.

      31.      Premier has claims for breach of contract, misrepresentation, unjust enrichment,

fraud, deception, conversion, statutory damages, attorney fees, collection and court costs with

respect to the debt which Geary seeks to have discharged by this Court.
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                                               COUNT I

         NON-DISCHARGEABILITY OF PREMIER'S CLAIMS AGAINST GEARY
             UNDER SECTION 523(a)(2)(A) OF THE BANKRUPTCY CODE


      32.      Premier repeats and re-alleges the allegations set forth in paragraphs 1 through 30 of

this Complaint as if set forth at length herein.

      33.      Bankruptcy Code § 523(a)(2)(A) provides, in relevant part, that:

                (a)   A discharge under section 727, 1141, 1228(a), 1228(b) or
                1328(b) of this title does not discharge an individual debtor from
                any debt--

                (2)    for money, property, services, or an extension, renewal, or
                refinancing of credit, to the extent obtained by --
                (A) false pretenses, a false representation or actual fraud, other than a
                statement respecting the debtor's or an insider's financial condition. . .

      34.      All or part of the debt owed to Premier, as evidenced by the Judgment entered

against the Debtor, is non-dischargeable as it is a debt for money, property, services, or an

extension, renewal, or refinancing of credit, that was obtained by false pretenses, a false

representation, or actual fraud within the meaning of Bankruptcy Code § § 523(a)(2)(A).

                                               COUNT II

         NON-DISCHARGEABILITY OF PREMIER'S CLAIMS AGAINST GEARY
              UNDER SECTION 523(a)(4) OF THE BANKRUPTCY CODE

      35.      Premier repeats and re-alleges the allegations set forth in paragraphs 1 through 33 of

this Complaint as if set forth at length herein.

      36.      Bankruptcy Code § 523(a)(4) provides, in relevant part, that:

               (a)     A discharge under section 727, 1141, 1228(a), 1228(b) or 1328(b) of this title

               does not discharge an individual debtor from any debt—

               ...

               (4)     for fraud or defalcation while acting in a fiduciary capacity, embezzlement,

               or larceny . . . .
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      37.      All or part of the debt owed by Geary to Premier, as evidenced by the RISCA

assigned to Premier and the Trade-in Agreement entered into with the McClures, which

misrepresented the obligation to Premier would be satisfied or the lien perfected, are non-

dischargeable as it is a debt for fraud or defalcation while acting in a fiduciary capacity,

embezzlement, or larceny within the meaning of Bankruptcy Code § 523(a)(4).

       WHEREFORE, Plaintiff, Wood Finance, Inc, d/b/a Premier Acceptance respectfully

requests that this Court enter a Judgment in its favor and against Joshua Geary and his Dealership

determining that the Debtor and his business owe the debt to Premier in the amount of $12,096.02

with $3.04 per diem for interest plus collection costs, reasonable attorney fees and court costs from

Joshua Geary and his dealership for their false statements, deception, fraud and violation of the

fiduciary duty to protect the interest in the Vehicle held by Premier and that the Judgment be

declared non-dischargeable under Bankruptcy Code § 523(a)(2)(A) and 523(a)(4), and granting

Premier such other and further relief as this Court may deem just and proper.

                                               INDIANA DEALER COUNSEL

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